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     Integrity Practice Solutions, LLC;
     Integrity Medical Systems, LLC; and Chintan Trivedi

                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY


      SALERNO MEDICAL ASSOCIATES, LLP,
                                                            Civil Action No. 2:20-cv-7076
                                      Plaintiffs,
              v.
                                                            NOTICE OF APPEARANCE
      INTEGRITY PRACTICE SOLUTIONS, LLC;
      INTEGRITY MEDICAL SYSTEMS, LLC;
      CHINTAN TRIVEDI; JOHN DOES 1-10; and
      ABC CORPORATIONS 1-10,

                                      Defendants.


             I, Michelle L. Greenberg, of Frier & Levitt, LLC, do hereby enter an appearance on behalf
     of Defendants, INTEGRITY PRACTICE SOLUTIONS, LLC, INTEGRITY MEDICAL
     SYSTEMS, LLC and CHINTAN TRIVEDI, in the above-captioned lawsuit. Request is hereby made
     that all notices given or required to be given in this case and all papers served in this case be served
     upon my office at:
                     Michelle L. Greenberg, Esq.
                     Frier & Levitt, LLC
                     84 Bloomfield Avenue
                     Pine Brook, NJ 07058
                     mgreenberg@frierlevitt.com
                                                     FRIER & LEVITT, LLC
                                                     Attorneys for Defendants
                                                     Integrity Practice Solutions, LLC;
                                                     Integrity Medical Systems, LLC; and Chintan
                                                     Trivedi

                                                     By:_s/ Michelle L. Greenberg
                                                     Michelle L. Greenberg, Esq. (MG3047)

     Dated: June 17, 2020

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